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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 HARRISON COMPANY, L.L.C.,                        §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               § CIVIL ACTION NO. 3:19-CV-1057-B
                                                  §
 A-Z WHOLESALERS INC. and                         §
 BARKAT G. ALI,                                   §
                                                  §
                Defendants.                       §


      PROPOSED ORDER ON PLAINTIFF’S MOTION FOR AWARD OF INTEREST,
                      ATTORNEYS’ FEES, AND COSTS


        Came on for consideration this day Plaintiff Harrison Company, L.L.C.’s (“Harrison”)

Motion for Award of Interest, Attorneys’ Fees, and Costs (the “Motion”), due notice having been

given, and the Court, having considered the Motion, the Brief in Support, and any response or

reply, finds that Harrison’s Motion should be, and hereby is, in all things, GRANTED. It is

therefore,

        ORDERED, ADJUDGED, and DECREED that defendants A-Z Wholesalers Inc. and

Barkat G. Ali are jointly and severally liable to Harrison and are obligated to pay Harrison the total

amount of $_____________, of which amount (a) $2,575,335.73 is the underlying principal

amount owed, (b) $_____________ is for pre-judgment interest, calculated at the rate of ___% per

annum, (c) $_______________ is for attorneys’ fees, and (d) $________ is for collection costs,

plus (e) post-judgment interest at the rate of ___% per annum and (f) costs to be taxed by the Clerk.




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        The Clerk shall enter final judgment in accordance with this Order and the Court retains

jurisdiction over this matter to enforce it.



Signed on the ____ day of _________________, 2021.



                                               __________________________________________
                                               UNITED STATES DISTRICT JUDGE




                                                 2
